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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               Case Number: 19-20141-CR-KING

 UNITED STATES OF AMERICA

 v.

 VICTOR ROJAS,

     Defendants.
 ________________________________/


                          GOVERNMENT’S THIRD RESPONSE TO
                           THE STANDING DISCOVERY ORDER

         The United States hereby files this response to the Standing Discovery Order.

      1. Rojas discovery bates numbered: 20141-1 to 20141-1692 and Recordings entitled N-53,
         N-54, N-55 provided by SDNY (subject to the protective order) were provided to Victor’s
         counsel, Scott Sakin, on October 11, 2019 via hand delivery. They were provided again
         to Victor’s new counsel, Ana Davide, via hand delivery, on a disc on November 1, 2019.

      2. On November 20, 2019, another disc was sent via federal express to Ana Davide which
         contained:

         a. the previously produced discovery mentioned in paragraph #1
         b. Recordings provided to Rojas’ prior counsel Scott Sakin in June 2019 (labeled N-7,
            N-9, N-10, N-11, N-17, and N-21)
         c. additional discovery bates numbered 20141-1693 to 20141-2126 and one video
            recording
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  Please contact the undersigned if anything is missing.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY

                                           By:    /s/ Timothy J. Abraham
                                                 Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the undersigned electronically filed the foregoing document
  with the Clerk of Court using CM/ECF.


                                s/Timothy J. Abraham
                                Timothy J. Abraham




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